              Case 2:15-cr-00209-JAM Document 211 Filed 06/15/17 Page 1 of 1


1

2

3

4

5

6

7

8                          IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,              ) 2:15-CR-00209-GEB
                                            )
12                Plaintiff,                )
                                            ) ORDER DISMISSING INDICTMENT
13       v.                                 )
                                            )
14   ALGERNON TAMASOA, and                  )
     JOHN ORTIZ,                            )
15                                          )
                  Defendants.               )
16                                          )
                                            )
17                                          )
                                            )
18

19                                           ORDER

20       On June 15, 2017, the United States filed a Motion to Dismiss

21   the pending Indictment against the above-named defendants.

22   Accordingly, pursuant to Rule 48(a) of the Federal Rules of Criminal

23   Procedure, the above-captioned matter is dismissed with prejudice and

24   the status conference scheduled for June 16, 2017, is vacated.

25   IT IS SO ORDERED.

26   Dated:     June 15, 2017

27

28

29
                                               1
30
